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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                        AUSTIN DIVISION

MICHAEL C. DEMARQUIS,                                §
                                                     §
Plaintiff
                                                     §
                                                     §
VS.                                                  §      Case No. 1:20-CV-00634-LY
                                                     §
ALORICA INC.,                                        §
                                                     §
Defendant

                         ORDER SETTING INITIAL PRETRIAL CONFERENCE

            IT IS HEREBY ORDERED that the above entitled and numbered case is set for an

INITIAL PRETRIAL CONFERENCE by telephone on Friday, November 5, 2021, at 9:30

AM, Austin, Texas time. The parties shall provide the court with their direct telephone numbers

on or before 12:00 PM Austin, Texas time, on Thursday, November 4, 2021, via email to

Courtroom Deputy Clerk, Samantha Oakes at Samantha_Oakes@txwd.uscourts.gov.

            The parties’ proposed scheduling order is tentatively approved and the parties shall

comply with the dates set forth in paragraphs 1 through 7 of such proposed order pending the

initial pretrial conference.

            At the initial pretrial conference, the Court will schedule a final pretrial conference and

set a trial month.

            SIGNED this 13th day of September, 2021.




                                                 LEE YEAKEL
                                                 UNITED STATES DISTRICT JUDGE
